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                       THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               OXFORD DIVISION

RODNEY JONES, et al.                        PLAINTIFFS

       v.                                   CIVIL ACTION NO. 3:20CV00308-NBB-RP

THE RAYMOND CORPORATION                     DEFENDANT


             DEFENDANT THE RAYMOND CORPORATION’S
         REBUTTAL IN SUPPORT OF ITS MOTION TO STRIKE THE
   SECOND SUPPLEMENTAL REPORT OF JOHN MEYER, Ph.D., P.E. (DOC. 131)


       The Defendant, The Raymond Corporation, comes before the Court this day, by and

through counsel, and files this, its Rebuttal in Support of its Motion to Strike the Second

Supplemental Report of John Meyer, Ph.D., P.E. (Doc. 131) (the “Motion”). In support thereof,

Defendant relies upon and adopts by reference as if set forth fully herein its Rebuttal Memorandum

in Support of its Motion to Strike the Second Supplemental Report of John Meyer, Ph.D., P.E., and

the other documents on file with the Court cited therein.

       WHEREFORE, PREMISES CONSIDERED, Defendant requests that said Motion be

granted, and that such other relief to which it may be entitled in these premises be granted.

       Respectfully submitted, this the 15th day of April, 2022.

                                              THE RAYMOND CORPORATION
                                              By and through its attorneys,

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                                  With Permission
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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 15, 2022, I electronically filed the foregoing with the Clerk
of the Court using the ECF system which sent notification of such filing to the follow to the
following:

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